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                                                                                                  E-FILED
                                                                 Tuesday, 26 November, 2024 10:22:16 AM
                                                                             Clerk, U.S. District Court, ILCD
                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                               ROCK ISLAND DIVISION

                                            )
PATRICIA KEITEL, as Independent             )
Administrator of the Estate of ERIC         )
PETERSEN, deceased                          )
                                            )
       Plaintiff,                           )
                                            )               No. 24-cv-4082-CSB-EIL
  v.                                        )
                                            )
DARREN HART, et al.,                        )
                                            )
       Defendants.                          )
                                            )

                                            ORDER

                                        Protective Order


                The parties to this Agreed Confidentiality Order have agreed to the terms of this

        Order pursuant to ECF# 51; accordingly, it is ORDERED:

        1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be

subject to this Order concerning Confidential Information as defined below. This Order is

subject to the Local Rules of this District and the Federal Rules of Civil Procedure on matters

of procedure and calculation of time periods.

        2.      Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by

the producing party that falls within one or more of the following categories: (a) information

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prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,

technical, commercial or financial information that the party has maintained as confidential;

(d) medical information concerning any individual; (e) personal identity information; (f)

income tax returns (including attached schedules and forms), W-2 forms and 1099 forms; or

(g) personnel or employment records of a person who is not a party to the case. (h) All videos

and Intercom recordings from the Rock Island County Jail especially ones between June 10,

2022 and June 13, 2022. (i) Transactions logs from the Rock Island County Jail. Information or

documents that are available to the public may not be designated as Confidential Information.

       3.     Designation.

              (a)    A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT

TO PROTECTIVE ORDER” on the document and on all copies in a manner that will not

interfere with the legibility of the document. As used in this Order, “copies” includes

electronic images, duplicates, extracts, summaries or descriptions that contain the

Confidential Information. The marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” shall be applied prior to or at the time of the documents are produced or disclosed.

Applying the marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a

document does not mean that the document has any status or protection by statute or

otherwise except to the extent and for the purposes of this Order. Any copies that are made of

any documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall also

be so marked, except that indices, electronic databases or lists of documents that do not

contain substantial portions or images of the text of marked documents and do not otherwise

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 disclose the substance of the Confidential Information are not required to be marked.

                  (b)     The designation of a document as Confidential Information is a

 certification by an attorney or a party appearing pro se that the document contains Confidential

 Information as defined in this order.1

                  (c)     All Videos and Intercom recordings are deemed confidential and do not

 require the marking of “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”

         4.       Depositions.2

         Unless all parties agree on the record at the time the deposition testimony is taken, all

 deposition testimony taken in this case shall be treated as Confidential Information until the

 expiration of the following: No later than the fourteenth day after the transcript is delivered

 to any party or the witness, and in no event later than 60 days after the testimony was given,

 Within this time period, a party may serve a Notice of Designation to all parties of record as

 to specific portions of the testimony that are designated Confidential Information, and

 thereafter only those portions identified in the Notice of Designation shall be protected by the

 terms of this Order. The failure to serve a timely Notice of Designation shall waive any

 designation of testimony taken in that deposition as Confidential Information, unless

 otherwise ordered by the Court.

         5.       Protection of Confidential Material.



1 An   attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER must be admitted to the Bar of at least one state but need not be admitted to practice
in the Central District of Illinois unless the lawyer is appearing generally in the case on behalf of a party. By
designating documents confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions
of this Court on the subject matter of the designation.

2 The parties or movant seeking the order shall select one alternative for handling deposition testimony and

delete by redlining the alternative provision that is not chosen.
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              (a)     General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in

subparagraph (b) for any purpose whatsoever other than in this litigation, including any

appeal thereof.

              (b)     Limited Third-Party Disclosures. The parties and counsel for the

parties shall not disclose or permit the disclosure of any Confidential Information to any third

person or entity except as set forth in subparagraphs (1)-(9). Subject to these requirements,

the following categories of persons may be allowed to review Confidential Information:

              (1)     Counsel. Counsel for the parties and employees of counsel who have
                      responsibility for the action;

              (2)     Parties. Individual parties and employees of a party but only to the
                      extent counsel determines in good faith that the employee’s assistance
                      is reasonably necessary to the conduct of the litigation in which the
                      information is disclosed;

              (3)     The Court and its personnel;

              (4)     Court Reporters and Recorders. Court reporters and recorders
                      engaged for depositions;

              (5)     Contractors. Those persons specifically engaged for the limited
                      purpose of making copies of documents or organizing or processing
                      documents, including outside vendors hired to process electronically
                      stored documents;

              (6)     Consultants and Experts. Consultants, investigators, or experts
                      employed by the parties or counsel for the parties to assist in the
                      preparation and trial of this action but only after such persons have
                      completed the certification contained in Attachment A,
                      Acknowledgment of Understanding and Agreement to Be Bound;

              (7)     Witnesses at depositions. During their depositions, witnesses in this
                      action to whom disclosure is reasonably necessary. Witnesses shall not
                      retain a copy of documents containing Confidential Information, except
                      witnesses may receive a copy of all exhibits marked at their depositions
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                     in connection with review of the transcripts. Pages of transcribed
                     deposition testimony or exhibits to depositions that are designated as
                     Confidential Information pursuant to the process set out in this Order
                     must be separately bound by the court reporter and may not be
                     disclosed to anyone except as permitted under this Order.

              (8)    Author or recipient. The author or recipient of the document (not
                     including a person who received the document in the course of
                     litigation); and

              (9)    Others by Consent. Other persons only by written consent of the
                     producing party or upon order of the Court and on such conditions as
                     may be agreed or ordered.

              (c)    Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information.

Counsel shall maintain the originals or electronic copies of the forms signed by persons

acknowledging their obligations under this Order for a period of one year after the

termination of the case.

       6.     Inadvertent Failure to Designate. An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so

designate the document; provided, however, that a failure to serve a timely Notice of

Designation of deposition testimony as required by this Order, even if inadvertent, waives

any protection for deposition testimony. If a party designates a document as Confidential

Information after it was initially produced, the receiving party, on notification of the

designation, must make a reasonable effort to assure that the document is treated in

accordance with the provisions of this Order. No party shall be found to have violated this

Order for failing to maintain the confidentiality of material during a time when that material

has not been designated Confidential Information, even where the failure to so designate was

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 inadvertent and where the material is subsequently designated Confidential Information.

         7.     Filing of Confidential Information. This Order does not, by itself,

 authorize or require the filing of any document under seal. Any party wishing to file a

 document designated as Confidential Information under seal in connection with a motion,

 brief or other submission to the Court must comply with LR 5.10.

         8.     No Greater Protection of Specific Documents. Except on privilege grounds

 not addressed by this Order, no party may withhold information from discovery on the

 ground that it requires protection greater than that afforded by this Order unless the party

 moves for an order providing such special protection.

         9.     Challenges by a Party to Designation as Confidential Information.

The designation of any material or document as Confidential Information is subject to challenge

by any party. The following procedure shall apply to any such challenge.

                (a)   Meet and Confer. A party challenging the designation of Confidential

 Information must do so in good faith and must begin the process by conferring directly with

 counsel for the designating party. In conferring, the challenging party must explain the basis

 for its belief that the confidentiality designation was not proper and must give the

 designating party an opportunity to review the designated material, to reconsider the

 designation, and, if no change in designation is offered, to explain the basis for the

 designation. The designating party must respond to the challenge within five (5) business

 days.

                (b)   Judicial Intervention. A party that elects to challenge a confidentiality

 designation may file and serve a motion that identifies the challenged material and sets

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forth in detail the basis for the challenge. Each such motion must be accompanied by a

competent declaration that affirms that the movant has complied with the meet and confer

requirements of this procedure. The burden of persuasion in any such challenge proceeding

shall be on the designating party. Until the Court rules on the challenge, all parties shall

continue to treat the materials as Confidential Information under the terms of this Order.

            10.     Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing

in this Order or any action or agreement of a party under this Order limits the Court’s

power to make orders concerning the disclosure of documents produced in discovery or

at trial.

            11.     Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at any

trial or hearing. A party that intends to present or that anticipates that another party may

present Confidential information at a hearing or trial shall bring that issue to the Court’s and

parties’ attention by motion or in a pretrial memorandum without disclosing the

Confidential Information. The Court may thereafter make such orders as are necessary to

govern the use of such documents or information at trial.

            12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

                    (a)   If a receiving party is served with a subpoena or an order issued in

other litigation that would compel disclosure of any material or document designated in

this action as Confidential Information, the receiving party must so notify the designating

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party, in writing, immediately and in no event more than three court days after receiving

the subpoena or order. Such notification must include a copy of the subpoena or court order.

               (b)    The receiving party also must immediately inform in writing the

party who caused the subpoena or order to issue in the other litigation that some or all of

the material covered by the subpoena or order is the subject of this Order. In addition, the

receiving party must deliver a copy of this Order promptly to the party in the other action

that caused the subpoena to issue.

               (c)    The purpose of imposing these duties is to alert the interested persons

to the existence of this Order and to afford the designating party in this case an opportunity

to try to protect its Confidential Information in the court from which the subpoena or order

issued. The designating party shall bear the burden and the expense of seeking protection

in that court of its Confidential Information, and nothing in these provisions should be

construed as authorizing or encouraging a receiving party in this action to disobey a lawful

directive from another court. The obligations set forth in this paragraph remain in effect

while the party has in its possession, custody or control Confidential Information by the

other party to this case.

       13.     Challenges by Members of the Public to Sealing Orders. A party or

interested member of the public has a right to challenge the sealing of particular documents

that have been filed under seal, and the party asserting confidentiality will have the burden

of demonstrating the propriety of filing under seal.

       14.     Obligations on Conclusion of Litigation.

               (a)    Order Continues in Force. Unless otherwise agreed or ordered, this

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    Order shall remain in force after dismissal or entry of final judgment not subject to further

    appeal.

                   (b)     Obligations at Conclusion of Litigation. Within sixty-three days after

    dismissal or entry of final judgment not subject to further appeal, all Confidential

    Information and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE

    ORDER” under this Order, including copies as defined in ¶ 3(a), shall be returned to the

    producing party unless: (1) the document has been offered into evidence or filed without

    restriction as to disclosure; (2) the parties agree to destruction to the extent practicable in lieu

    of return;3 or (3) as to documents bearing the notations, summations,

    or other mental impressions of the receiving party, that party elects to destroy the documents

    and certifies to the producing party that it has done so.

                   (c)     Retention of Work Product and one set of Filed Documents.

    Notwithstanding the above requirements to return or destroy documents, counsel may retain

    (1) attorney work product, including an index that refers or relates to designated

    Confidential Information so long as that work product does not duplicate verbatim

    substantial portions of Confidential Information, and (2) one complete set of all documents

    filed with the Court including those filed under seal. Any retained Confidential Information

    shall continue to be protected under this Order. An attorney may use his or her work product

    in subsequent litigation, provided that its use does not disclose or use Confidential


3 The parties may choose to agree that the receiving party shall destroy documents containing
Confidential Information and certify the fact of destruction, and that the receiving party shall not be
required to locate, isolate and return e-mails (including attachments to e-mails) that may include
Confidential Information, or Confidential Information contained in deposition transcripts or drafts or
final expert reports.

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Information.

                  (d)    Deletion of Documents filed under Seal from Electronic Case

Filing (ECF) System. Filings under seal shall be deleted from the ECF system only upon

order of the Court.

         15.      Order Subject to Modification. This Order shall be subject to modification by

the Court on its own initiative or on motion of a party or any other person with standing

concerning the subject matter.

         16.      No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any

document or material designated Confidential Information by counsel or the parties is

entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise

until such time as the Court may rule on a specific document or issue.

         17.      Persons Bound. This Order shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.




         So Ordered.




Dated:

                                              U.S. Magistrate Judge



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                                      ATTACHMENT A


                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                              ROCK ISLAND DIVISION

                                         )
PATRICIA KEITEL, as Independent          )
Administrator of the Estate of ERIC      )
PETERSEN, deceased                       )
                                         )
       Plaintiff,                        )
                                         )             No. 24-cv-4082-CSB-EIL
  v.                                     )
                                         )
DARREN HART, et al.,                     )
                                         )
       Defendants.                       )
                                         )


                                ACKNOWLEDGMENT
                                      AND
                              AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Protective Order

dated _                                          in the above-captioned action and

attached hereto, understands the terms thereof, and agrees to be bound by its terms. The

undersigned submits to the jurisdiction of the United States District Court for the Central

District of Illinois in matters relating to the Protective Order and understands that the

terms of the Protective Order obligate him/her to use materials designated as

Confidential Information in accordance with the Order solely for the purposes of the

above-captioned action, and not to disclose any such Confidential Information to any

other person, firm or concern.
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        The undersigned acknowledges that violation of the Protective Order may result

in penalties for contempt of court.



Name:

Job Title:

Employer:

Business Address:




Date:

                                      Signature
